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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: GENERIC PHARMACEUTICALS                                 MDL 2724
PRICING ANTITRUST LITIGATION                                   16-MD-2724
                                                               HON. CYNTHIA M. RUFE

IN RE: DIGOXIN CASES
IN RE: LIDOCAINE/PRILOCAINE CASES

THIS DOCUMENT RELATES TO:                                           Civil Action Nos.

ALL DIGOXIN ACTIONS                                                 16-DG-27240
ALL LIDOCAINE/PRILOCAINE CASES                                      16-LD-27240
The Kroger Co., et al. v. Actavis Holdco U.S., Inc., et al.         18-cv-284
Ahold USA, Inc., et al. v. Actavis Holdco U.S., Inc., et al.        18-cv-2641


                                             ORDER

       AND NOW, this 24th day of September 2018, upon consideration of the attached second

Stipulation Regarding Briefing on Impax Laboratories, Inc.’s Motion to Limit Discovery, it is

hereby ORDERED that the Stipulation is APPROVED.

       It is so ORDERED.

                                                     BY THE COURT:
                                                     /s/ Cynthia M. Rufe
                                                     ____________________
                                                     CYNTHIA M. RUFE, J.
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                         MDL NO. 2724
PRICING ANTITRUST LITIGATION                           16-MD-2724
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ALL LIDOCAINE-PRILOCAINE ACTIONS                       16-LD-27240

The Kroger Co., et al. v. Actavis Holdco U.S.,         18-cv-00284
Inc., et al.

Ahold USA, Inc., et al. v. Actavis Holdco U.S.,        18-cv-02641
Inc. et al.

    STIPULATION REGARDING BRIEFING ON IMPAX LABORATORIES, INC.’S
                    MOTION TO LIMIT DISCOVERY

          WHEREAS, on August 28, 2018, Impax Laboratories, Inc. (“Impax”) filed a Motion to

Limit Discovery (ECF No. 228, on 16-DG-27240; ECF No. 152, on 16-LD-27240; ECF No. 18,

on 18-cv-00284; ECF No. 3, on 18-cv-02641);

          WHEREAS, on September 10, 2018, the Parties submitted a stipulation on a briefing

schedule for the Motion to Limit Discovery, which the Court granted;

          WHEREAS, after discussion, Impax and Plaintiffs agreed to an amended briefing

schedule on the Motion to Limit Discovery, to accommodate related motion practice on similar

issues;

          It is hereby STIPULATED AND AGREED by the undersigned counsel that Plaintiffs

shall have until September 25, 2018 to file an opposition brief to Impax’s motion and Impax

shall have until October 16, 2018 to file a reply brief.
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      IT IS SO STIPULATED.

Dated: September 18, 2018

   /s/ Roberta D. Liebenberg                 /s/ Dianne M. Nast
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 Liaison and Lead Counsel for End-          Liaison and Lead Counsel for Direct
 Payer Plaintiffs                           Purchaser Plaintiffs


 /s/ William J. Blechman                     /s/ Jonathan W. Cuneo
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